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                                                                                   December 16, 2021

VIA CM/ECF
The Honorable Katherine Polk Failla
United States District Court
Southern District of New York
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

Re:    Caldwell v. Santander Consumer USA Holdings Inc., et al., Case No. 1:21-cv-7842-KPF
       (S.D.N.Y.)

Dear Judge Failla:

       We represent Plaintiff Caldwell in the above referenced action. In consultation with
counsel for Santander Consumer USA Holdings Inc. (“SC” or the “Company”), Plaintiff in the
above action submits this letter to respectfully request an adjournment of the initial pretrial
conference currently scheduled in this action for December 22, 2021 at 11:30 am.

       Plaintiff Caldwell commenced his individual action by filing a complaint on September
20, 2021, challenging certain disclosures in the Recommendation Statement (the
“Recommendation Statement”) on Form SC 14D9 filed with the Securities Exchange
Commission in connection with the proposed acquisition of the Company by Santander Holdings
USA, Inc. via tender offer (the “Proposed Transaction”), pursuant to Section 14 of the Securities
Exchange Act of 1934. The Company accepted service of the complaint on December 16, 2021
and Plaintiff Caldwell has agreed that Defendants will have until February 15, 2022 to respond to
the complaint. The Parties jointly request that the Court adjourn the December 22, 2021
conference to a date after February 15, 2022.


                                                                 Respectfully,

                                                                 /s/ Joshua M. Lifshitz
                                                                 Joshua M. Lifshitz

Cc:    Shahzeb Lari (via E-mail)
